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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                            CIVIL MINUTES - TRIAL

 Case No.         CV 17-07639 SJO (RAOx)                                                                     Date       December 13, 2019
 Title:           Juno Therapeutics, Inc. et al v. Kite Pharma, Inc.

 Present: The Honorable             S. James Otero
                           Victor Paul Cruz                                                                  Amy Diaz
                            Deputy Clerk                                                        Court Reporter/Recorder, Tape No.


                Attorneys Present for Plaintiff(s):                                               Attorneys Present for Defendants:

                         Morgan Chu                                                                      Jeffrey I. Weinberger
                        Alan J. Henrich                                                                  Edward George Dane
                      Andrea Weiss Jeffries                                                                Blanca F. Young



                              Day Court Trial                  9th                      Day Jury Trial
      The Jury is impaneled and sworn.
      Opening statements made by
      Witnesses called, sworn and testified.              Exhibits identified.          Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                  defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                                Jury resumes deliberations.
 x    Jury Verdict in favor of                        x   plaintiff(s)                  defendant(s) is read and filed.
 x    Jury polled.                                        Polling waived.
 x    Filed Witness & Exhibit Lists                  x    Filed jury notes.        x    Filed jury instructions.
      Judgment by Court for                                                             plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                         plaintiff(s)                 defendant(s).
      Case submitted.                 Briefs to be filed by
      Motion to dismiss by                                                         is         granted.             denied.            submitted.
      Motion for mistrial by                                                       is         granted.             denied.            submitted.
      Motion for Judgment/Directed Verdict by                                      is         granted.             denied.            submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                     for further trial/further jury deliberation.
 x    Other:      All admitted trial exhibits shall be maintained in the custody of Plaintiff pending appeal.

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                                                                                  Initials of Deputy Clerk           VPC
cc:


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